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 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                            )
                                                          )
 8                          Plaintiff,                    )      Case No. 2:17-mj-00901-NJK
                                                          )
 9   vs.                                                  )      ORDER SETTING HEARING
                                                          )
10   IANTHE ROWLAND,                                      )      (Docket No. 29)
                                                          )
11                          Defendant.                    )
                                                          )
12
13          Pending before the Court is a letter from Defendant Ianthe Rowland, which the Court construes
14   as a motion to dismiss counsel and appoint new counsel. Docket No. 29. The Court hereby sets the
15   motion for hearing on October 17, 2017, at 10:00 a.m. in courtroom 3A. Defendant and her counsel are
16   required to be present in the courtroom at the hearing.
17          IT IS SO ORDERED.
18          DATED: October 10, 2017.
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                                                   ______________________________________
20                                                 NANCY J. KOPPE
                                                   United States Magistrate Judge
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